            CASE 0:23-cv-00505-KMM-DJF Doc. 7 Filed 03/09/23 Page 1 of 2




                            UNITED STATES DISTRICT COURT
                               DISTRICT OF MINNESOTA


Erica López Prater, Ph.D.,                  )   Court File No. 23-CV-505 (KMM-DJF)
                                            )
               Plaintiff,                   )
                                            )      DEFENDANT’S MOTION TO
       v.                                   )        DISMISS PLAINTIFF’S
                                            )            COMPLAINT
Trustees of the Hamline University of       )
Minnesota,                                  )
                                            )
               Defendant.                   )
                                            )

       Defendant Trustees of the Hamline University of Minnesota (“Defendant”)

respectfully move the Court for an Order dismissing Plaintiff’s Complaint based on the

Memorandum of Law in Support of Motion to Dismiss Plaintiff’s Complaint and the

Declaration of Mark T. Berhow.

       This motion is based on the Complaint, the Memoranda of Law and other motion

submissions filed by Defendant in accordance with Local Rule 7.1, all the files, records

and proceedings herein, such evidence and argument as may be presented to the Court

prior to a decision on this motion, and all matters of which the Court may or must take

judicial notice.

Dated: March 9, 2023                    HINSHAW & CULBERTSON LLP


                                  By:   s/Mark T. Berhow
                                        Mark T. Berhow, Reg. No. 031450X
                                        Kevin R. Coan, Reg. No. 29357X
                                        250 Nicollet Mall, Suite 1150
                                        Minneapolis, MN 55401



                                                                         1057337\312869637.v1
CASE 0:23-cv-00505-KMM-DJF Doc. 7 Filed 03/09/23 Page 2 of 2




                           Telephone: 612-333-3434
                           Fax: 612-334-8888
                           mberhow@hinshawlaw.com
                           kcoan@hinshawlaw.com

                           Attorneys for Defendant Trustees of the
                           Hamline University of Minnesota




                            -2-
                                                           1057337\312869637.v1
